Case 3:15-cv-00309-SMY Document 501 Filed 12/03/18 Page 1 of 4 Page ID #21409




         IN THE UNITED STATES DISTRICT COURT FOR THE
     SOUTHERN DISTRICT OF ILLINOIS, EAST ST. LOUIS DIVISION

DEMETRIUS ROSS, et al., on behalf of          )
Themselves and all others similarly situated, )
                                              )
                   Plaintiffs,                )
                                              )
                  v.                          )      Case No. 15 C 0309
                                              )
GREG GOSSETT, et al.,                         )      Hon. Staci M. Yandle, J.
                                              )
                  Defendants.                 )      Hon. Stephen C. Williams, M.J.

                MOTION TO DISMISS CERTAIN DEFENDANTS

      Plaintiffs, by their undersigned attorneys, respectfully move to dismiss

without prejudice certain individuals as Defendants in the above-captioned matter.

In support, Plaintiffs state as follows:

      1.     The operative pleading in the above-captioned putative class action,

Doc. No. 197, named as Defendants a number of individuals on the basis that

Plaintiffs’ counsel believed that they were participants in one or more of the 2014

shakedowns at issue in this putative class action.

      2.     Based on information, documents and/or testimony provided to them

by Defendants, Plaintiffs no longer believe that certain Defendants named in their

Second Amended Complaint were actually present during these shakedowns.

      3.     Accordingly, pursuant to Fed. R. Civ. P. 41(a)(2), 15(a), and/or the

Court’s inherent authority to manage its cases, Plaintiffs respectfully move to
Case 3:15-cv-00309-SMY Document 501 Filed 12/03/18 Page 2 of 4 Page ID #21410




dismiss the following individuals from the putative class action Ross, et al. v.

Gossett, et al., Case No. 15 C 0309 (S.D. Ill.): 1

       -Richard Harrington
       -Rodney Brady
       -Brendan Ankrom
       -Stephanie Beasley
       -Robert Blackwell
       -Mark Bower
       -Kyle Brooks
       -Christopher Cales
       -Aaron Campbell
       -James Cissell
       -Josh Curry
       -Samuel Dillon
       -Justin Dircks
       -Bryan Easton
       -M. Fluder
       -Justin Hammers
       -Kevin Hirch
       -Shayne Howell
       -Michael Jones
       -Tyler Jones
       -John Koch
       -Alexander Lockhart
       -Jason Migneron
       -Jason Morris
       -Wendy Parks
       -Gary Perkins
       -Brandon Richey
       -Minh Scott
       -Eric Shelton
       -Mitch Simmons
       -Sam Taylor
       -Andrew Volk
       -Rene Waters
       -James Best
       -Kent Brookman
       -John Tourville

       This motion should not be construed to be a request to dismiss any of these
       1

Defendants from the lawsuits separately and subsequently consolidated with the
Ross putative class action. See Doc. No. 481 at 37, n. 18 (listing consolidated cases).
                                              2
Case 3:15-cv-00309-SMY Document 501 Filed 12/03/18 Page 3 of 4 Page ID #21411




      -Kevin Reichert
      -Beau Purtle
      -Patrick Trokey
      -Raymond Allen
      -James Powell
      -John Mich
      -Roger Waller
      -John Hoffman
      -Raymond Groves
      -Michael Samuel
      -George Welborn
      -Tony Payne, Jr.
      -Michael Monje
      -Tracy Lee
      -John Carter
      -Louis Browder
      -Ventures Jackson
      -Denise Minor
      -Daniel Sullivan
      -Jack Townely
      -Jeffrey Julius
      -Richard Lynch
      -Michael Durbin
      -Charles Hayden
      -James Studer
      -Eric Welsh
      -Randall Bayler
      -Leif McCarthy
      -Chad Ray
      -Earl Dixon
      -Alan Dallas
      -Martin Buchner

      4.     Nothing in this motion to dismiss is intended to alter or affect any of

Plaintiffs claims against the remaining Defendants.



WHEREFORE Plaintiffs respectfully request that the above-named Defendants be

dismissed from the above-captioned action.



                                          3
Case 3:15-cv-00309-SMY Document 501 Filed 12/03/18 Page 4 of 4 Page ID #21412




                                             Respectfully submitted,
                                             /s/ Sam Heppell
                                             One of Plaintiffs’ Attorneys


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                          CERTIFICATE OF SERVICE

       I, Sam Heppell, an attorney, certify that on December 3, 2018, I caused the
foregoing Motion to Dismiss Certain Defendants to be filed using the Court’s
CM/ECF system, which effected service on all counsel of record.


                                             /s/ Sam Heppell
                                             One of Plaintiffs’ Attorneys
